                            Case 4:13-cr-00329-BSM Document 239 Filed 07/17/14 Page 1 of 1
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                                                                                                                  FILED
                                                                                                              U.S. DISTRICT COURT
                                                                                                          EASTERN DISTRICT ARKANSAS
                                             IN THE UNITED STATES DISTRICT COURT
                                                EASTERN DISTRICT OF ARKANSAS                        JUL 17 2014
                                                       WESTERN DIVISION
                                                                                                JA~K ERK
                                                                                                By·
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                  UNITED STATES OF AMERICA

                          vs.                              NO.    \ !,-CJZ.. .. ~2.-q      5SM
                                                                                                                  DEFENDANT


                                        WAIVER OF APPEARANCE FOR ARRAIGNMENT
                                           AND ENTRY OF PLEA OF NOT GUlL TV
                                 (Pursuant to Rules 10 and 43 of the Federal Rules of Criminal Procedure)

                          NOW COMES Defendant in the above-referenced case who, along with his/her undersigned attorney,
                  hereby acknowledges the following:

                  I)      Defendant has received a copy of the indictment, superseding indictment or misdemeanor
                          information in this case. Defendant understands the nature and substance of the charges contained
                          therein, the maximum penalties applicable thereto, and his/her Constitutional rights, after being
                          advised of all of the above by his/her attorney.

                  2)      Defendant understands he/she has the right to appear personally with his/her attorney before a Judge
                          for arraignment in open court on this accusation. Defendant further understands that absent the
                          present waiver, he/she will be so arraigned in open court.

                  Defendant. having conferred with his/her attorney in this regard, hereby waives personal appearance with
                  his/her attorney at the arraignment of this case and the reading of the indictment, superseding indictment or
                  information, and by this instrument tenders a plea of "not guilty." The defendant understands that entry by
                  the Court of said plea for defendant will conclude the arraignment in this case for all purposes.



                          Date                                      Defei1dar1s lgnature


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                                                                    Counsel for Dete     nt's Stgnature


                                                           ORDER OF COURT

                           The defendant's request to waive appearance at the arraignment is hereby APPROVED and a
                           plea of not guilty is entered for the defendant effective this date.




                  cc:     All Counsel of Record
                          U.S. Probation Office
                          U.S. Marshals Service
                          Presiding Magistrate Judge
